          EXHIBIT 2




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                  IN THE UNITED STATES DISTRICT COURT FOR THE
                          MIDDLE DISTRICT OF TENNESSEE
                               NASHVILLE DIVISION



IN RE: REALPAGE, INC., RENTAL                            Case No. 3:23-md-3071
SOFTWARE ANTITRUST LITIGATION                            MDL No. 3071
(NO. II)
                                                         Chief Judge Waverly D. Crenshaw,
                                                         Jr.
                                                         JURY DEMAND
                                                         This document relates to:
                                                         ALL CASES




                        [PROPOSED] CASE MANAGEMENT ORDER

        Pursuant to Rule 16 of the Federal Rules of Civil Procedure, the Local Rules of this Court,

 and the Court’s January 5, 2024, Order (ECF No. 693), and to secure the just, speedy, and

 inexpensive determination of this action, the Court orders that the following schedule shall govern

 these proceedings.

        Any motion to modify the case management order or any case management deadline shall

 be filed at least seven calendar days in advance of the earliest impacted deadline. Unless a joint

 motion, the motion for modification should include a statement confirming that counsel for the

 moving Party has met and conferred with opposing counsel about the requested modification(s) or

 extension(s), and whether there is any objection. The motion for modification should also include:

 (i) the trial date and all deadlines, even unaffected deadlines, so that it will not be necessary for

 the Court to review one or more previous case management orders in consideration of the motion

 and (ii) a statement that the requested extension will still conform to the requirements of Local

 Rule 16.01(h)(1) that no dispositive motion deadline, including response and reply briefs, shall be




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 later than 90 days in advance of the trial date. Motions for extensions should also demonstrate

 good cause as required by Fed. R. Civ. P. 16(b)(4). Counsel must promptly notify the Court of

 developments in the case that could significantly affect the case management schedule.

        The Court expects the Parties and their counsel to work cooperatively throughout this

 litigation to narrow the issues in dispute, and to use reasonable, good faith, and proportional efforts

 to preserve, request, identify, and produce relevant information and resolve discovery disputes.

 DISCOVERY DEADLINES AND LIMITS
            1. Opening of Discovery: For purposes of Rule 26(d)(1), discovery requests may be
               served on or after February 16, 2024.

            2. Initial Disclosures: The Parties shall serve their initial disclosures required by Rule
               26(a)(1) on or before February 26, 2024. In any subsequently consolidated actions,
               all newly added Parties shall serve initial disclosures within 21 days of
               consolidation. If the newly-added Parties disclose documents by category and
               location pursuant to Fed. R. Civ. P. 26(a)(1)(A)(ii), they will produce copies of the
               documents themselves in response to discovery requests.

            3. Fact Discovery Cut-off: Fact discovery must be commenced in time to be
               completed on or before November 21, 2025. Privilege log procedures shall be
               governed by the ESI Order.

            4. Interim Deadlines for Production Of Documents And Data: To facilitate the
               scheduling and taking of depositions and the briefing of class certification, the
               Court also establishes the following interim deadlines for the production of
               documents and data:

                    a. Meet and Confer About Custodians: The Parties shall begin meet and
                       conferring about custodians no later than March 11, 2024.

                    b. Commencement of Non-Custodial Productions: A responding Party shall
                       begin production of responsive, non-privileged non-custodial documents
                       that the Party has agreed to produce by April 26, 2024 or within 60 days of
                       receiving the opposing party’s written requests for production, whichever is
                       later.

                    c. Commencement of Custodial Productions: A responding Party shall begin
                       rolling productions of documents 60 days after reaching agreement on
                       selection of all custodians, however, if the Parties have a dispute on any
                       specific custodians, the 60 days will start for that custodian from the date of
                       resolution of the impasse.



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                d. Substantial Completion of Document Production: The Parties shall
                   substantially complete their document productions by March 28, 2025.

                e. Data Production: The production of structured data responsive to Plaintiffs’
                   First Set of Structured Data Requests (“Structured Data”) shall be
                   completed by October 25, 2024. Defendants shall each produce a sample
                   of their Structured Data no later than May 1, 2024. If Plaintiffs have
                   questions about the Structured Data sample, they shall raise those questions
                   by June 5, 2024. Defendants shall respond to Plaintiffs’ questions about
                   the Structured Data sample by July 10, 2024, in order to facilitate the timely
                   production of an agreed upon scope of Structured Data by October 25,
                   2024.

         5. Limitations on Written Discovery:

                a. Interrogatories: Interrogatories will be counted in accordance with Fed. R.
                   Civ. P. 33(a)(1). The Parties must coordinate efforts and each side must
                   avoid serving duplicative or unduly burdensome interrogatories. Local Rule
                   33.01(b) is expanded to allow:

                      i.      Plaintiffs: Plaintiffs may jointly serve 30 interrogatories on each
                              Defendant.

                     ii.      Defendants: Defendants may jointly serve 30 interrogatories on
                              each of the individual named Plaintiffs and each Defendant is also
                              entitled to serve up to 10 individual interrogatories on Plaintiffs.

                b. Requests for Admission:

                           i. Plaintiffs: Plaintiffs may serve 30 joint Requests for Admission per
                              Defendant, and an additional 20 joint requests on each Defendant.

                       ii. Defendants: Defendants may jointly serve 30 Requests for
                           Admission on each named Plaintiff, and each Defendant is also
                           entitled to serve up to 10 individual requests on Plaintiffs.

                      iii. Requests for Admission, other than those concerning authenticity or
                           admissibility, must be served no later than 90 days before the close
                           of fact discovery, or by August 21, 2025, whichever is later.

                c. Depositions: Depositions shall be governed by the Order for Deposition
                   Protocol.

                d. Third Party Subpoenas:

                           i. Absent good cause to the contrary, all third-party subpoenas must
                              be served in sufficient time, taking into account the nature and
                              volume of the material requested, to allow for resolution of


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                            reasonably anticipated disputes and production of the material
                            requested no later than the deadline for the completion of all fact
                            discovery. Third-party subpoenas should be served at least 45 days
                            prior to the deadline for completion of fact discovery.

                        ii. Plaintiffs and Defendants must give each side notice of the issuance
                            of a third-party subpoena. Such notice must be given at least two
                            (2) business days in advance per Local Rule 45.01(d). Plaintiffs and
                            Defendants must exchange all third-party productions within 7 days
                            of receipt of the productions or at least 14 days before the deposition
                            of the producing third party, whichever is earlier.

 ADDITIONAL DISCOVERY ORDERS
         1. The Protective Order, Deposition Protocol, Rule 502(d) Order, Expert Discovery
            Order, and ESI Protocol entered by the Court shall automatically apply to Parties
            in all subsequently consolidated actions, unless modified by the Court in response
            to a motion filed by such newly added party within 14 days of their consolidation.

 CLASS CERTIFICATION AND EXPERT DISCOVERY
         1. Plaintiffs must file and serve their opening motion for class certification together
            with supporting documents and related expert reports, on or before August 15,
            2025.

         2. Defendants must file and serve their memoranda in opposition to class certification,
            together with supporting documents and related expert reports, on or before
            November 21, 2025

         3. No additional expert reports on class certification may be served without leave of
            Court.

         4. Plaintiffs must file and serve their reply brief in support of their motion for class
            certification on or before January 16, 2026.

         5. Class expert disclosures must be made as set out in the protocol governing expert
            discovery.

         6. The briefing schedule for any Daubert motion filed in connection with class
            certification shall be as follows:

                a. Plaintiffs’ Experts: Defendants’ motions shall be filed by November 21,
                   2025, Plaintiffs’ oppositions shall be filed by January 16, 2026, and
                   Defendants’ reply brief shall be filed by February 20, 2026; and

                b. Defendants’ Experts: Plaintiffs’ motions shall be filed by January 16,
                   2026, Defendants’ oppositions shall be filed by February 20, 2026, and
                   Plaintiffs’ reply briefs hall be filed by March 23, 2026.



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            7. A hearing on class certification and Daubert class reports will be held in April
               2026.

 MERITS EXPERTS
            1. Plaintiffs shall serve their Rule 26(a)(2)(B) and 26(a)(2)(C) expert merits reports
               on or before June 19, 2026.

            2. Defendants shall serve their Rule 26(a)(2)(B) and 26(a)(2)(C) expert merits reports
               on or before August 14, 2026.

            3. Expert merits reply reports shall be due no later than September 18, 2026.

            4. No additional expert reports on merits issues may be served without leave of Court.

            5. The briefing schedule for any Daubert motion filed in connection with class
               certification shall be as follows: Parties’ Daubert motions shall be filed by October
               23, 2026, Parties’ oppositions shall be filed by December 18, 2026, and Parties’
               reply brief shall be filed by January 22, 2027.
            6. A hearing on Daubert merits reports will be held at the convenience of the Court.

 DISPOSITIVE MOTIONS AND TRIAL READY DATE
        Motions for summary judgment under Rule 56(a) shall be made in accordance with the

 following schedule. Before filing or responding to a summary judgment motion, attorneys are

 required to read and follow Judge Richardson’s guidance in McLemore v. Gumucio, 619 F. Supp.

 3d 816 (M.D. Tenn. 2021), regarding what should (or should not) be included in the movant’s

 “statement of undisputed material facts.” Counsel must carefully draft the statement of undisputed

 material facts and responses to ensure that it is a narrow statement of facts (not opinions, argument,

 or legal conclusions) that are material to the outcome of the case and are undisputed as supported

 by the record.

            1. The Parties shall file any motions for summary judgment on or before April 16,
               2027.

            2. Parties must file and serve their memoranda in response to any summary judgment
               motions on or before May 28, 2027.

            3. Parties must file and serve their replies in support of any summary judgment
               motions on or before June 25, 2027.


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         4. Argument on the Parties’ summary judgment motions, if requested by the Parties
            and Ordered by the Court, will be held in at the convenience of the court (if
            necessary, see Local Rule 78.01).

         5. For cases filed in the Middle District of Tennessee, the Parties shall be trial ready
            no later than 75-100 days after the Court’s ruling on the motions for summary
            judgment. The Court will set a trial for six (6) weeks starting on a convenient date.

 MEDIATION AND ALTERNATIVE DISPUTE RESOLUTION

         1. The Parties are engaged in ongoing mediation efforts, including plans for Parties to
            participate in at least two independent substantive attempts to resolve the case. For
            the first attempt, certain Defendants have already engaged in mediation. Other
            Defendants will engage on either March 15, 2024 and/or April 8, 2024.

         2. In the event the Parties have not resolved the claims, they shall engage in at least
            one additional good-faith mediation effort no later than August 13, 2027.

         3. Nothing in this Order shall prevent the Parties, or a subset of the Parties, from
            engaging in additional mediation or settlement conferences with the aim of
            resolving the claims in this case.

         4. The Court may sua sponte schedule status conferences or settlement conferences to
            explore options for alternative dispute resolution.

 CASE MANAGEMENT CONFERENCES
         1. The Parties shall conduct status conferences before Judge Crenshaw approximately
            every 30 days from February 16, 2024 to August 1, 2026. The Parties will
            provide their availability for these conferences through March 2025 within ten days
            of entry of this Order.

         2. The Parties will submit a joint status report seven days before each status
            conference. To the extent that the Parties have a small number of agenda items for
            a status conference, the Court may elect to conduct the status conference
            telephonically. If there are no agenda items for a status conference, the Court may
            cancel the conference.



 IT IS SO ORDERED.

 Date:                      , 2024


                                                          Hon. Waverly Crenshaw, Jr.




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